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                                                                                                FILED
                                                                                             IN CLERK'S OFFICE
                                                                                       U.S. DISTRICT COURT E.D.N.Y.

                                                                                       *       OCT 17 2017      *
    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK                                                        LONG ISLAND OFFICE

    SHARON LASHLEY,                                               CV-13-6343 (JMA) (SIL)

                                   Plaintiff,                     STIPULATION AND ORDER
                                                                  OF DISMISSAL
                   -   against

    SBRGEAT MORRONE, CORPORAL O'HEA,
    OFFICER GROSS, THE COUNTY OF NASSAU,
    THE NASSAU COUNTY CORRECTIONAL
    CENTER, NASSAU COUNTY CORRECTION
    OFFICERS JOHN DOBS NUMBERS 1~10,
                             ~




                                   Defendants.


           IT IS HEREBY STIPULATED, CONSENTED AND AGREED, by and between the

    undersigned, that whereas no party hereto is an infant or incompetent person for whom a committee

    has been appointed, and no person not a party has an interest in the subject matter of the actionl

    that the above. .entitled action is dismissed with prejudice and without costs or attorneys' fees to

    any party. ~'/
    Dated:~ 28, 2017
                                                                 CARNELL T. FOSKEY
                                                                 Nass County Attorney

    By:~~=~~~­                                            By:
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1
                          tleluori, Bsq.                           lora M. Ben..Sorek
           300 Old       1ry Road, Suite 351                     One West Street
           Mineola, New York 11501                               Mineola, New York 11501
           (516) 742-7600                                        (516) 571 ..3014
           Attorneys for Plaintiff                               Attorney for County Defendants
Ill   Case 2:13-cv-06343-JMA-SIL Document 70 Filed 10/17/17 Page 2 of 2 PageID #: 414




          Sharon Lashley
      1   Plaintiff


          STATE OF NEW YPRK)
      I              k; V, ~ .!l   ss.:
          COUNTY OF~)
                               ~\u/,y
                  On the ~7 day~O 17 before me personally appeared Sharon Lashley, known
          to me to be the~ual who executed the within Settlement Agreement and Release.




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                                                          SO ORDERED:
                                                   s(Scon t--\. A-irCAU:.
                                                  --,,---~     ------   ---




                                                          Hon. Joan M. Azraek
                                                          United States District Judge




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